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                                                  9:44 pm, 8/24/23

                                               Margaret Botkins
                                                Clerk of Court




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